Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 1 of 31



                             UNITED STATES DISTRICT COU R T
                             SO UTH ER N DISTRICT O F FLO M A

                          CASENO 1:23-mj-03829 LOUIS
                                    .


                                                                                           TS
   UM TED STA TES O F AAV RICA
                                                                                   Sep 19, 2023
   V S.
                                                                                             Miami


   JUAN AN DR ES D O NATO BA UTISTA ,

                   D efenA nt.
                                              /


                                  CRIM INA L C OV ER SH EET

   1. D id thism atter originate from a m atter pending ill the CentralRegion of the United States
          Attorney'sOfGcepriortoAugust8,2014(M ag.JudgeShaniekMaynardl? NO
   2. D id this m atter orighm te from a m atter pending illthe CentralRegion of the United States
          Attomey'sOfficepiortoOctober3,2019(Mag.JudgeJaredStratlss)? NO
   3. D id thism atterinvolve theparticipation oforconsultation w ith now M agistrateJudge Eduardo
      1.Sanchez dlxring his tenure atthe U .S.Attom ey's Offce,which concluded on January 22,
          20232                                                                 NO



                                                     Respectfully subm itted,

                                                     M ARK EN ZY LA POINTE
                                                     UN IR'ED STATES A RT ORN EY


                                              BY:        Jotz- .
                                                     RobertJ.E ery
                                                     AssistantUllited StatesAttom ey
                                                     Southern DistrictofFlozidaCotu't
                                                     N o.A 5501892
                                                     99 N E.41 Street, 71 Floor
                                                     M iam i,Florida 33132
                                                     Te1.: 305-961-9421
                                                     Fax: 305-536-7213
                                                     Email:Robert.emeryz@usdoj.gov
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 2 of 31




 A091(Rev.68/09)CriminalComplalnt                                            .

                                U NITED STATES D ISTRICT C OURT
                                                        forthe
                                              Southem DistrictofFlorida

               UnitedState;ofAmerica                       )
                           V.                              )
             JuanAndresDonato Bautista,
                                                           ) cuexo. 1:23-mj-03829 LO UIS
                                                           )
                                                           )
                                                           )
                        Defeedant.
      CRTM INAL COM PIZAINT BY TELEPH ONE OR OTH ER KII IABLE BLECTRONIC M EAN S
         1,thecomplainantinthiscase,statethatthefollowing istnletothebestofmy knowledgeandbelier.
 Onorabouttledatets)of     Julv2015toOdober2017      inthecountyof                        Mlaml-Dade             inthe
    Squthem     Districtof       FloNda      ,thedefendantts)violated:
           CodeJer/fozl                                            VjènseDeler/f3tm                              .
 18U.S.C.149561h)                         ConspiraoytoIaundermonetaryinstruments,inviolationof18U.S-C.ïj
                                          1956(a)(2)(A),1956(a)(2)(B)(i
                                                                      ),and1957(a),alli
                                                                                      nviolatl
                                                                                             cnof18U.
                                                                                                    S.C.ï
                                          1956(h)
 18U.s.c.:1956(a)(2)(A)                   PromotionalmoneyIaundering,lnvlolationof18U.S.C.â1956(a)(2)(A)
 18U.S.C.j1956(a)(2)(B)(i)                CohcealmentmoneyIaundering,inQolationof18U.S.C.j1956(a)(2)(B)(i)


         Thiscriminalcomplaintisb%edonthesefacts:

                                          '
                                           SEE ATTACHED AFFIDAVIT


         W continuedontheattachedsheet.               '




                                                                                                 '
                                                                                  o     slzla?l/yss. zlJ/re

                                                                          GolberdAlmeid              cialA ent-HS1
                                                                                 /7r;n      fl
                                                                                             'ae
                                                                                               ''
                                                                                                6''î(lfc//tr
Attested to bytheApplicantilzaccordancewith therequirementsofrcd. .CHm.P.4.1byFàceTim e.

 Date: Septem ber 19 2023
                                                                                      Judge'sWPCJ/IZN

 Cityandstate:                      Mlaml,Florlda                Hon.LaurenF.Louis.UnitedStatesMagistrateJudge'
                                                                                 Printednttmn= #title
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 3 of 31




                        AFFIDA W T IN SUPPOR T OF A N APPLICATIO N
                              FOR A CRIM INA L CO M PLM NT

           1,Colberd A lm eida,being firstduly sw orn hereby depose and state asfollow s:

                       G TR O D U CTIO N A N D A G EN T B A CK G R O U N D

                  1 m ake this affidavit in supportof an application for a Complaintcharging Juan

   Andres(tAndy''DonatoBautista(CCBAUTISTA'')withconspiringtolaundermonetaryinstruments
    and conspiring to engage in m onetary transactions in property derived from specified unlaw ful

    activity,inviolationof18U.S.C.jj1956(a)(2)(A),1956(a)(2)(B)(i),and l957(a),a11inviolation
    of18 U.S.C.5 1956(h);and laundering and attempted laundering ofmonetary instruments,in
   violation of18U.S.C.jj 1956(a)(2)(A)and 1956(a)(2)(B)(i)(collectively referredhereinasthe
   CçcriminalOffenses'').
          2.      1am a SpecialA gentw ith theU .S.D epartm entofH om eland Security'sH om eland

   Securitylnvestigations(C;HS1''). 1havebeen employed inthiscapacity sinceM arch2003.As
   such,lam an investigative or.law enforcem entofficerofthe United States w ithin the m eaning of

   Section2510(7)ofTitle18oftheUnitedStatesCode.Thatis,Iam anofficeroftheUnitedStates
   who is em powered by law to conduct investigations of, and to m ake arrests for, offenses

   enumeratedinTitle18,UnitedStatesCode,Section2516(1).
           3.     Since 2017,1have been assigned to the H SlM iam iField Office's IllicitProceeds

   andForeignCorruption($C1PFC'')Group,agroupthatinvestigatesmoneylaunderingandforeign
   corruption. In m y roleas a SpecialAgent,and particularly while w orking w ithin theIPFC Group,

   1 have received training and gained experience related to investigations involving foreign

   corruption,m oney laundering,fraud,and other Gnancialcrim es- including,butnotlim ited to:

   conducting or participating in surveillance and undercover operations'
                                                                        ,obtaining and executing

   search and seizure w arrants and arrest w arrants'
                                                    , interview ing w itnesses, inform ants, and
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 4 of 31




    cooperating defendants;and acquiring and analyzing electronic data and com m unications asw ell

    asforeign and dom esticsbusiness and financialrecords. Through m y training and experience,l

    have also becom e fam iliarwith various m oney laundering m ethodsthatpersonsengaged in such

    crim inal activity take to avoid detection from law enforcem ent, including m aking paym ents

    through third parties orutilizing offshore shellcompaniesorbank accountsto concealthe nature

    and origin ofthe funds;creating false docum entation,such as a loan ora contractagreem ent,to

    give the appearance oflegitim acy to an illegalpaym ent;structuring paym ents to avoid bank or

    regulatory reporting requirem ents; and using coded language to hide the crim inal nature of

    com m unications.

           4.     ln addition,from approxim ately M ay 2001through February 2003,1wasem ployed

    by H S1's legacy agency,the United States Custom s Service,as a SpecialA gent. I am also a

    graduate of the Federal Law Enforcem ent Training Centers in Glyncp,G eorgia,w here 1 have

   received training on 1aw enforcem enttoolsand techniquesused to investigateviolationsoffederal

    1aw - including those involving foreign corruption and m oney laundering.

           5.     The inform ation contained in this affidavit is based on,am ong otherthings,m y

   palicipation in the investigation,inform ation provided by otherindividuals- including sw orn law

    enforcem entofficers,foreign 1aw enforcem entofficials,w itnesses,and confidentialsources;m y

   review ofrelevantdocum ents- including foreign and dom estic btlsiness and Gnancialrecords as

   w ellasem ailand textcom m unications;and my training and experienceasa federalagentand the

   training and experience ofotherfederalagents. Because this affidavitis being subm itled forthe

   lim ited purpose of establishing probable cause,itdoesnotinclude each and every factknow n to

   m e orlearned during the course ofthisinvestigation.
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 5 of 31




                  A 11dates,tim es,and am ounts stated herein are approxim ate. 1have sum m arized

    conversationsofem ails and textm essagesunlessotherw ise indicated. Quotationsandsummaries

    ofem ails orm essages in Spanish arebased on drafttranslations.

                  Based on my training and experienceand the factsassetfol'th in thisaffidavit,there

    is probable cause to believe that violations of the Crim inal Offenses have been com m itted by

    BA UTISTA .

             SU M M ARY OF RELEVAN T D OM ESTIC AN D FO REIGN STA TUTES

           8.     Title18,UnitedStatesCode,Section 1956(a)(2)(A)prohibitsmoney laundering
    in the United Shtesinvolving intenzationaltransfersand attempted transferseitherto orfrom the

    United Statesw ith the intentto prom otethe carrying on ofa specified unlaw fulactivity.

                  Title18,UnitedStatesCode,Section1956(a)(2)(B)(i)prohibitsmoneylaundering
    either to or from United States where the transaction or qttem pted transaction is designed in

   w hole,orin pal't,to concealand disguisethe nature,the location,the source,the ow nership and

   the controlofthe proceedsofthe specified unlaw fulactivity.

           10. Title 18,United StatesCode,Section 1957(a)prohibitsmoney laundering by
    engaging orattem pting to engage in a m onetary transaction in crim inally derived property ofa

   valuegreaterthan $10,000thatisderivedfrom specificunlawfulactivity.

           11. Title18,UnitedStatesCode,Section1956(h)prohibitsconspiraciestoviolatethe
   offensesdefined in Title 18,United States Code,Sections 1956 and 1957.

           12. Title 18,United States Code,Section 1956(c)(7) states that,for a financial
   transaction occurring in wholeorin partin theUnited States,specified unlawfulactivity includes

   an (toffense against a foreign nation involving . . . bribery of a public official, or the
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 6 of 31




    m isappropriation,theft,orem bezzlem entofpublic fundsby orforthebenefitofapublic official''

    and (sany felony violation ofthe Foreign CorruptPractices Act.''

                  PursuanttotheForeignCorruptPracticesAct(G$FCPA''),Title15,UnitedStates
    Code, Section 78dd-2 prohibits Ctdom estic concerns'' which include individuals who are

    citizens,nationals orresidents oftheU nited Statesaswellascom paniesthatare incorporated in

    the U nited States orhave theirprincipalplace ofbusiness in the U nited States--or any officer,

    director,em ployee oragentof such dom estic concern or stockholder acting on behalf of such

    dom estic concern,from m aking use of the m ails or any m eans or instruluentality of interstate

    com m erce corruptly in ful-therance ofan offer,paym ent,prom ise to pay,orauthorization ofthe

   paym entofany m oney,oroffer,gift,prom ise to give,orauthorization ofthe giving ofanything

    ofvalue,to a foreign officialorto aperson,whileknow ing thatallorpartofsuch m oney orthing

   ofvaluew ould be and had been offered,given,orprom ised to a foreign official,forpurposesof

   (i)influencingactsordecisionsofsuchforeignofficialinhisofficialcapacity;(ii)inducingsuch
   foreign officialto do oromitto do actsin violation ofthe lawfulduty ofsuch official;(iii)
   securingany improperadvantage'
                                ,or(iv)inducingsuchforeignofficialtousehisinfluencewith
   a foreign governm ent or agencies or instrum entalities thereof to affect or intluence acts or

   decisions of such governm ent or agencies or instrum entalities, in order assist the dom estic

   concel'ntoobtain orretain businessfororwith,ordirectbusinessto,anyperson. 15U.S.C.j
   78dd-2(a)and(h)(l)(A)-(B).
           14.    Furtherm ore, Title 15, United States Code, Section 78dd-3 prohibits any

   (ûperson'' otherthan an issuerora dom estic concern w hile in theterritory ofthe United States,

   from corruptly m aking use ofthe mails or any m eans orinstrum entality ofinterstate com m erce

   orto do any otheractin furtherance ofan offer,paym ent,prom ise to pay,orauthorization ofthe
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 7 of 31




   paym entofany m oney,oroffer,gift prom ise to give,orauthorization ofthe giving ofanything

    ofvalue,to aforeign officialorto aperson,w hile know ing thatal1orpartofsuch m oney orthing

    ofvalue w ould be and had been offered,given,orprom ised to a foreign official,forpurposesof

    (i)influencingactsordecisionsofsuchforeignofficialinhisofficialcapacity;(ii)inducingsuch
    foreign officialto do oromitto do actsin violation ofthelawfulduty ofsuch official;(iii)
    securinganyimproperadvantage;or(iv)inducingsuchforeignofficialtousehisintluencewith
    a foreign governm ent or agencies or instrum entalities thereof to affect or influence acts or

    decisions of such governm entoragencies or instrum entalities,in orderto assistsuch person to

    obtainorretainbusinessfororwith,ordirectbusinessto,anyperson.15U.S.C.j78dd-3(a)and
    (9(1).
             l5. From myreview ofcriminallawsoftheRepublicofthePhilippines(collectively,
   theçsphilippinePenalCode'')ineffectduringtherelevanttimeperiod,thePhilippinePenalCode
   containsthefollow ing provisions,in pertinentpart,relating to bribery ofapublic official:

          Bribely - Revised PenalCode

                    A rt.210.D irectbribely - Any public officerwho shallagree to perform an act

   constituting a crim e,in connection w ith the perform ance ofhisofficialduties,in consideration of

   any offer,prom ise,giftorpresentreceived by such officer,personally orthrough the m ediation of

   another,shallsufferthe penalty ofprision mayor in its m edium and m inim um periodsand a fine

   ofnotless than three tim es the value of the gift in addition to the penalty corresponding to the

   crim e agreed upon,ifthe sam e shallhave been com m itted.

                 b. A 14.211.Indirectbribery - Thepenalties ofprision correctionalin itsm edium

   and m axim um periods,suspension and public censure shallbe im posed upon any public officer

   who shallacceptgiftsoffered to him by reason ofhisoffice.
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 8 of 31




           Anti-GrajtandCtvrzw/Practices-RepublicActNo.3019
                  c.Section 3.Corruptpracticesofpublicofficers. In addition to actsorom issions

    ofpublicofficersalreadypenalized by existing law ,thefollow ing shallconstitute corruptpractices

    ofany public officerand are hereby declared to be unlaw ful:

                          (b)Directly orindirectly requesting orreceiving any gift,present,share,
    percentage,or benefit,for him self or for any other person,in connection w ith any contract or

    transaction between the Governm entand any otherpady,wherein thepublic officerin hisofficial

    capacity hasto interveneunderthe law ....

                         (e)Causing any undueinjurytoanyparty,includingtheGovernment,or
    giving any privateparty any unw arranted benefits,advantage orpreference in thedischarge ofhis

   officiatadministrativeorjudicialfunctionsthroughmanifestpartiality,evidentbadfaithorgross
   inexcusable negligence. This provision shall apply to officers and employees of offices or

   governm entcorporations charged with the grantoflicenses orperm itsorotherconcessions.

                                          BA CK G RO UND

   Phill
       ppineOfhcialandRelatedEntities
           l6. TheCommissiononElections(IICOM ELEC'')oftheRepublicofthePhilippines
   (the(Thilippines'')wasanindependentagencymandatedtoenforceandadministerelectionlaws
   in the Philippines. COM ELEC w as a (ldepartm ent,'' Csagency,'' or ttinstrum entality'' of the

   Philippines asthosetermsare used in the FCPA,15 U.S.C.jj 78dd-2(h)(2)(A)and 78dd-
   3(t)(2)(A).
           17.    BA UTISTA served as the Chairm an of COM ELEC from on or aboutA pril28,

   2015 to in oraround O ctober2017. BA UTISTA w asa llforeign official''asthatterm isdefined

   intheFCPA,15U.S.C.jj78dd-2(h)(2)(A)and78dd-3(f)(2)(A).


                                                  6
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 9 of 31




    United Kingdom Companies, &2kV.and Phili
                                           ppineSubsidiaries,Employees andAssociates

           18.    Com pany 1,headquartered in the U nited K ingdom ,w as a holding company that

    funded subsidiaries,including Company 2 and Com pany 3.

           19.    Com pany 2 was an election voting m achine and service pm vider com pany that

    was privately held under the Company 1 parent corporate structure. Com pany 2 had offices

    world-w ide and w as headquartered in the United K ingdom . D uring the tim e of the Crim inal

    Offenses,Com pany 2 had atleastone employee w orking and residing in the Southern D istrict

    ofFlorida.

           20.    Com pany 3, a subsidiary of Com pany l and Com pany 2, w as located and

    headquartered in B oca Raton,Florida. Company 3 w as a Cçdom estic concern''as thatterm is

    usedintheFCPA,Title15,United StatesCode,Section78dd-2(h)(1).
           21. Company4 wasajoint-ventureand subsidiaryofCompany .
                                                                 1andCompany 2,
   thatw as form ed in the Philippines in 2015 to bid for contracts relating to the 20l6 elections in

   thePhilippines,assetforthbelow. Thejointventureincluded,among others,Company2 and
   VendorA (describedbelow).
           22.    In oraround the laterpartof2015 and into 2016,Com pany 4 w on bidsforthree

   contracts worth a total approxim ate value of one hundred ninetp nine m illion dollars

    ($199,000,000)tosupplyCOMELECwithvotingmachinesandrelatedservicesfortheM ay2016
   electionsforPresident,Vice-president,and otherofficialpositions.l

           23. Co-cons/irator1wasaco-founderandPresidentofCompany2.Co-conspirator
    1 also served on the Board ofD irectorsforCom panies 1 and 2. Co-conspirator 1 m aintained a




   1Al1dollaramountsreferencedhereinareestimatesinU.S.dollars(USD),unlessothemvise
   indicated.
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 10 of 31




    residence in the Southern District of Florida since in or around 2009. H e becam e a law ful

    perm anent resident of the United States in or around January 2019. Co-conspirator 1 w as a

    ûûdom estic concern''asthatterm isused intheFCPA ,Title 15,United StatesCode,Sections78dd-

    2(a)and78dd-2(h)(1).
           24.    Co-conspirator 2 w orked asExecutive Vice-presidentfor Com panies 2 and 3 in

    Boca Raton, Florida. Company 3 paid his salary. H e m anaged hardware developm ent and

    m anufacturing- worldwide for Company 2. Co-conspirator2 becam e a United Statescitizen

    in 2004 and he m aintained a residence in the Southern D istrict of Florida since 1993.

    Conspirator2 was aççdom estic concena''asth:tterm isused in the FCPA ,Title 15,United States

    Code,Sections78dd-2(a)and78dd-2(h)(1).
                  Co-conspirator3 wasa Company 2 executive involved in Com pany 4's contracts

    with COMELEC in the Philippines. He served asprojectnnanagerforConnpany 4 in the
    Philippines who signed and im plem ented the 2016 election contracts. Co-conspirator 3 w as a

    (tperson''asthatterm isusedintheFCPA,15U.S.C.j78dd-3(a)and(941).
           26.    Co-conspirator 4 lived in Panam a, and he had a business relationship with

    Com pany 2 and its subsidiaries. Co-conspirator 4 w as a (tperson''asthatterm is used in the

    FCPA,15U.S.C.j78dd-3(a)and(9(1).
    Taiwanese Company,Employees,and Related ShellCompanies

                   Vendor A w as a com pany based in Taiw an that m anufactured hardw are for

    electronic products for Com panies 2,3,and 4. VendorA partnered w ith Com pany 2 to form the

    jointventure- companyzp-thatbidonandwasawardedcontractstosupplyvotingmachinesand
    related servicesto thePhilippines forits 2016 elections.

           28.     V endorA-presidentwaspresidentand ownerofVendorA .


                                                   8
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 11 of 31




                   V endorA. -Em ployeew asa director/officerand shareholderofV endorA .V endor

    A -Em ployee was a close relative ofV endorA -president.

           30.     Baumann Enterprises Limited (EtBaumann'') was a foreign shell company
    incorporated in the British V irgin Islands in or around 2010. BA UTISTA asw ellastwo close

    relatives ow ned and/orw ere beneficialowners ofBaum ann.

                   Shell Company X was a foreign shellcompany incorporated in A nguilla in or

    around 2014. V endorA-presidentowned and exercised controlover ShellCom pany X .

           32.     ShellCom pany Y wasaforeign shellcompany incorporated in Bruneiin oraround

    2011. VendorA-Em ployeew aslisted asadirectorofShellCom pany Y and the prim ary account

    user for Shell Com pany Y 's bank account in H ong Kong. Vendor A -president ow ned and

    exercised controloverShellCompany Y .

    Relatedphili
               ppineEntities
           33.     Philippine M etals Com pany w asa com pany incorporated in the Philippinesin or

    around 1994. Philippine M etals Com pany purported to be,am ong other things,an exporter,

    importer,and m anufacturerofm etalsand m etalproducts.

           34. PhilippineM SB Company wasaregistered money servicesbusiness(6$M SB'')
    incorporated in oraround 2010 thatoperated in the Philippines.

                 OV ERW EW O F TH E SCH EM E TO PA Y BRIBES TO BAU TISTA

                   ln or around August 2017, BAU TISTA 'S wife inform ed Philippine N ational

    Bureau oflnvestigation (11NB1'7)agentsthatherhusband had large amounts ofunexplained
    w ealth.z She inform ed N Bl's Anti-Fraud Division that her husband had approxim ately one


    2TheNB1isanagencyofthePhilippinegovernmentunderthePhilipjineDepartmentofJustice,
    responsibleforhandlingandsolvingmajorhigh-profileorcomplexcrlminalcasesintheinterest
    ofthenation.
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 12 of 31




    billion Philippine Pesos,or approximately $20 m illion USD,ofEtill-gotlen wealth.'' Attheir
    residence,she found foreign bank accountinform ation forB aum ann,ShellCom pany X and Shell

    Com pany      that she previously did not l
                                              tnow existed. A dditionally, at the residence,

    BAUTISTA 'Sw ife also discovered stacks of cash ofPhilippine pesosand approxim ately thilty-

    five(35)çEpassbooks''identifyingmultiplecashdepositsatbankaccountsinthePhilippinesheld
    in BAU TISTA 'S and fam ily m em bers'nam esthatshepreviously did notknow about.

           36.    Based,in pal't,on this inform ation,HS1initiated an investigation thatfocused on

    employees of Com panies 2, 3,and 4 and their use of various overseas bank accounts of the

    Com panies' vendor to bribe BAU TISTA- a Philippine governm ent official- for lucrative

    election voting m achine and related services contracts with COM ELEC forthe 2016 Philippine

    elections. ln addition,the investigation focused on BAUTISTA 'S acts to launder his bribe

    proceedsrelated to the schem e.

                  A sdescribed in greaterdetailbelow and sum m arized in the attached flow chal't,

    BAU TISTA,in hiscapacity asChairm an ofCOM ELEC,received and attem ptedto receive bribes

    from Co-conspirators 1,2,3,4,and V endorA ,in exchange forusing hisposition asChairm an

    of COM ELEC to assistCompany 2,Company 4,and othersto obtain and retain business and

    improper advantages, including paym ents from COM ELEC,in violation of the FCPA and the

    Philippine laws againstthe bribery ofapublic official. Co-conspirators 1,2,3,and 4 furthered

    the crim inalschem eusing personalem ailaccountsand m essaging applicationsto avoiddetection,

    and in particular,Co-conspirators l and 3 used em ailaccountsregistered underaliases.

           38.    To conceal and disguise the bribe paym ents, Co-conspirators 1, 2, 3,4, and

    VendorA-president,togetherwith others,caused or attempted to launder at least$4,000,000




                                                 10
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 13 of 31




    through foreign andU .S.bank accountsforthebenefitofBAU TISTA ,in violation ofU.S.m oney

    laundering laws.

                     TH E BRIBERY A ND M ONEY LAU NDERIN G SCH EM E

           39.    From m y review of em ails,textm essages,contracts,docum ents,bank records,

    w itness interview s,and from m y participation in thisinvestigation,1have learned,am ong other

    things,thefollow ing:

           40.    From on or aboutA pril28,2015,to in oraround October 2017,BA UTISTA ,as

    Chainnan of COM ELEC,had intluence and decision-m aking authority relating to the aw ards,

    oversight, and paym ents for three contracts to supply COM ELEC w ith voting m achines and

    related services for the M ay 2016 elections for President,V ice-president, and other official

    positions. A sa governm entofficial,BA UTISTA wasrequired to file a yearly Sw orn Statem ent

    ofAssets,LiabilitiesandNetW orth(((SALN'').For2015and2016- theyearsthatBAUTISTA
    wasrequired to file a SA LN as COM ELEC Chairm an- he failed to liithis interestin Baum ann.

                  In oraround October2014,COM ELEC opened the bidding processforthe lease

    of,w ith the option to buy,23,000 election m achines and related services forthe 2016 elections

    (ttcontract1'').OnoraboutJuly30,2015,BAUTISTA,inhiscapacityasCOM ELECChairman,
    awardedthebidforContract1to Company 4,thejointventurethatincluded Company2 and
    VendorA . Co-conspirator3,on behalfofCom pany 4,and anotherCOM ELEC com m issioner,

    on behalfofCOM ELEC,signed Contract 1because BA UTISTA wasunavailable. ForContract

    1,COM ELEC agreed to pay Company 4 approximately $53,763,481,in installm ents,and upon
    Company 4 m eeting certain m ilestones during the contract. Per the contract, only when

    BAU TISTA ,orhisdesignee,certified thatCom pany 4 had m eta m ilestone could COM ELEC

    issue a paym entto Com pany 4.


                                                  11
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 14 of 31




                      In oraround M ay 2015,COM ELEC openedthebidding processforthelease ofl
    withtheoptiontobuy,70,977electionmachinesandrelatedservices(Cscontract2'').Onorabout
    August27,2015,COM ELEC awarded the bid for Contract 2 to Company 4. BA UTISTA ,as

    COM ELEC Chairm an,and Co-conspirator 3,on behalfof Company 4,signed Contract2. For

    Contract2,COM ELEC agreed topayCompany 4 approximately $134,670,877,in installm ents,
    and upon Com pany 4 m eeting m ilestones during the contract. Per the contract, only when

    BA UTISTA ,orhis designee,cel-tified when Com pany 4 had m eta m ilestone could COM ELEC
                  $
    issue apaym entto Com pany 4.

                      ln or around M arch 2015,COM ELEC opened the bidding process for services

    relatedtotransmissionofresultsforthe2016elections(ttcontract3'').OnoraboutFebruary9,
    20l6,COM ELEC awarded the bidforContract3 to Com pany 4 forthe2016 Philippine elections.

    BAUTISTA ,as COM ELEC Chairm an,and Co-conspirator 3,on behalf ofCom pany 4,signed

    Contract3. ForContract3,COM ELEC agreed topay Company 4 approximately $10,642,488,
    in installm ents,and upon Company 4 m eeting m ilestones during the contract. Perthe contract,

    only when BAUTISTA ,orhis designee,certified w hen Com pany 4 had m eta m ilestone could

    COM ELEC issue a paym entto Com pany 4.

    Company 2 CreatedSlushFunds in thePhilkpinesandHong Kong
           44.        Based on m y training and experience and m y involvem entin this investigation,1

    believe thatto effectuate theircrim inalschem e to obtain the 2016 Philippine election contracts,

    Co-conspirators 1,2,3,4,and others,created lGslush funds''in thePhilippines,H ong Kong,and

    elsew here.




                                                     12
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 15 of 31




                  FirstSlush Fund

           45.    ln oraround 2014,aCom pany 2 subsidiary executed atwo-m illion-dollarcontract

    with V endorA to design election equipm entforthe 2016 Philippine elections. A snoted above,

    around this tim e, COM ELEC had announced the bidding for Contract            Regarding the

    importance ofthe Philippines contractsto Companies 1 and 2,Co-conspirator 2 told a form er

    presidentofV endorA thatCo-conspirator 2's bosses,w hich included Co-conspirator 1,w ere

    Gçseriouslv considerine in closine rsiclthecom panv (W orldwide!!!)nextvear ifwe cannot

    apply,compete,and win thePhilippinésbidl'' (boldand underlinein original). Company 2
    advanced funds and paid V endorA a totaloftwo m illion U .S.dollars pursuantto the contract.

    A large of am ount of these funds w ent unused by V endor A . Based on m y training and

    experience,thepoolofexcessfundswhichw erenotreturned to thecom pany,butw eretransferred

    to shellcom panies,indicatesthatthe originalcontractw as over-invoiced to éreate a slush fund.

    ln an em ailto V endorA ,Co-conspirator2 w rote thathe needed to check with hisGiboss''asto

    whom and whereto send the excessof$1,000,000.Atthe time,Co-conspirator 1 supervised
    Co-conspirator 2. lnstead of returning the m oney to Com pany 2 and/or its subsidiary, Co-

    Conspirator2 directed VendorA to transferlarge am ountsofU .S.dollarsfrom ShellCom pany

    X and ShellCom pany Y through foreign and U .S.bank accounts,to variousSwissbank accounts

    ofshellcom paniesow ned by Co-conspirator 1based on fictitious contracts.3




    3 N otably, in or around June 2017, from one of these shell com panies' bank accounts in
    Switzerland,Co-conspirator1 directed afundstransferofapproxim ately $1.3 m illion to abank
    accountin the United Arab Em iratesthatbelonged to a com pany Co-conspirator4 owned. ln or
    around July 2017,Co-conspirator4 then directed a w iretrapsferto a com pany'sbank accountin
    the Philippines.

                                                 13
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 16 of 31




           B.      Second Slush Fund

           46.      ln relation to the creation of another slush fund,the Co-conspirators funneled

    fundsthrough Co-conspirator4'scompanies. On oraboutD ecem ber l5,2015,Co-conspirator

    4sentanemailwithanattachedspreadsheetentitled'ThilippinesPot''(translatedfrom Spanish)
    to Co-conspirator3 ata personalem ailaccount.4 The spreadsheet atlached to Co-conspirator

    4's emaillisted multiple paymentsto Co-conspirator4 totaling $2,340,000 from Company 2.
    The spreadsheetrecorded various U .S.dollardenom inated paym ents Co-conspirator4 appears

    to have m ade from his personal and business bank accounts to bank accounts of several

    Philippinescom panies,including PhilippineM SB Com pany.ln the spreadsheet,Co-conspirator

    4projectedto receive$3,657,500from Company 2. Asdiscussed below inParagraph 65,the
    Co-conspirators used the sam e Philippine M SB Com pany bank accountto funnelpaym entsto

    BAUTISTA .

           47.     A ccording to bank docum ents obtained during the investigation,Co-conspirator

    4 executed som ç of the w ire transfers to bank accounts of Philippine com panies, including

    PhilippinesM SB Com pany,on the sam eday orsoon afterhe received paym entsfrom Com pany

    2. M any ofthe paym ents predated the aw ards of Contracts 1,2,and 3,butoccurred afterthe

    bidding processesfortheContractswere opened. Co-conspirator4 and hiscom paniesidentified

    during thisinvestigation w ere noton a listofvendorsforCom panies2,3,and 4 pertaining to the

    election votingm achineand related servicescontractsw ith COM ELEC thatwasprovidedto U .S.

    law enforcem entby counselforCom panies2,3,and 4.




    4Based on m y training and experience,and fam iliarity w ith thiscase,1have reason to believethat
    usage of the term s lûphilippines Pot''related to the creation of a slush fund,particularly as the
    spreadsheetrecorded paym entsfrom Company 2 as wellasoutgoing w ire transfersfrom various
    personaland businessaccounts in the nam e ofthird partiesto companiesin the Philippines.
                                                   14
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 17 of 31




           48.    Em ails law fully obtained during this investigation indicate thatCo-conspirator4

    created fake contractsto obscure the true source ofthe funds sentto Philippine bank accounts

    described above and to concealthe recipientts)ofpaymentslisted in the spreadsheet. For
    exam ple,Co-conspirator 4 recorded a paym ent dated August 26,2015,in the spreadsheetto

    PhilippineM SB Companyfor$72,000.Anofficialfrom Co-conspirator4'sbank questionedthe
    w ire transferand requested supporting docum entation.D espitePhilippine M SB Com pany being

    registered asan M SB,Co-conspirator4 provided the bank as supporting docum entation forthe

    wire transfer receipts purpoling to show that he purchased furniture from Philippine M SB

    Com pany. Co-conspirator 4 em ailed Co-conspirator 1 expressing concerns aboutthe bank's

    inquiries,and in response,Co-conspirator 1 suggested subm iting areceiptforservicesprovided

    orsomethingelsetojustifythewiretransferandindicatedthathethoughtthatthiswouldsatisfy
    the bank because they planned to send m ore transfers to Philippine M SB Com pany.

    Conspirator 4 responded to Co-conspirator 1 that he could not do what Co-conspirator 1

    suggested because of the large am ountofthe transfer and thatthe transfer originated from his

    personalaccount. Afterthe bank twice rejected supporting documentation forthe alleged
    furniturepurchase,Co-conspirator4 submittedacompletelydifferentjustificationforthewire
    transfer- a consulting agreem ent between him self and Philippine M SB Com pany that had

    nothing to do with furniture.

           C.     Third Slush Fund

           49.    Co-conspirator 2 created the third slush fund from Com pany 2's 2015 contract

    withVendorA topayVendorA approximately $56,117,790tobuild98,447voting machinesfor
    the 2016 Philippine elections. Com pany 2 and VendorA generated the slush fund by creating

    over-invoiced contracts. The purchase order--#5134- for one ofthe contracts designated the


                                                  15
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 18 of 31




    voting m achinethe (11800 Plus.'' A n Excelspreadsheetatlached to an em aillocated in V endor

    A-Employee'spersonalemailaccountdetailedanitemizedcostforpurchaseorder#5134of$570

    foreach 1800 Plusvotingm achine.Thissame spreadsheetincluded an EdExtra Fee''of$50 per
    machine,andatotal(TxtraFee''amountof$4,922,350.Thespreadsheetalso listed ttExtraFee''
    forotheritem sapparently related to the 2016 Philippineelectionsfora totalGsExtra Fee''am ount

    of$4,961,350.In aM arch 2016seriesofemails,VendorA-presidentinformed Co-conspirator

    2thatapproxim ately $5,900,000inunusedbufferfundsfrom thiscontractbelongingtoCompany
    2 rem ained in the bank acco
                               'unts of ShellCom pany X and ShellCom pany Y . Co-conspirator2

    referred to $4,961,350oftheseunused fundsashisGiboss's''ashehad similarly described in an
    em ailreferenced in Paragraph 45,which lbelieve was areferenceto Co-conspirator 1,who was

    Co-conspirator's2 im m ediate supervisorand presidentofCompany 2.5

           50.      Forone ofthebank accountsinthePhilippines,in em ailcom m unicationslaw fully

    obtained by law enforcem ent,from in or around M ay 2016, Co-conspirator 1 instructed Co-

    Conspirator2 to create a contractto supportpaym ents to another com pany- philippine M etals

    Company. Co-conspirator 1 sentCo-conspirator 2 the articles of incorporation for Philippine

    M etals Company in suppol'tofthe schemeto create the false documentation tojustify wire
    transfers to Philippine M etals Company. Co-conspirator 1 inform ed Co-conspirator 2 that

    PhilippineM etals Company wasone ofthe com paniesthey oughtto useto send thepaym entsand

    thatthey wanted to startw ith &1150k''and to laterincreasethe am ounts. Based on m y training and

    experienceandmy involvementinthisinvestigation,1believethatG(150k''refersto$150,000USD




    5ThespreadsheetdetailedinthisParagrayhlikewisecontaineda$10costcalledthe(ERue,''with
    atotalam ountof$984,470. During thislnvestigation,HS1determ inedthatVendorA-president
    wired aportion ofthe(A ue''fundsfrom ShellCom paniesX and Y tobank accountsin the Southern
    DistrictofFlorida belonging to Co-conspirator2 and anotherCom pany 3 employee.
                                                   16
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 19 of 31




    and later increases to thatam ountwhen referring to m aking future paym ents. Co-conspirator 1

    also told Co-conspirator2,who received the em ailin Southern D istrictofFlorida,(Cto create''the

    contractthatw ould beneeded to supportthew ire transfers.

           51.    Later in M ay 2016,Co-conspirator 3,using an alias em ailaccount,forw arded a

    contractto Co-conspirator 1,w ho in turn em ailed itto Co-conspirator 2. The contractdetailed

    fourpaym entsfrom ShellCompanyX toPhilippineM etalsCompanyforatotalof$1,350,000and

    w asforthe fictitiouspurchaseofiron ore and copperfrom Philippine M etalsCompany.

           52.    In a series of em ails from in oraround June 2016 to in or around July 2016,Co-

    Conspirator2informed Co-conspirator1thatapproximately$750,000hadbeensenttoPhilippine
    M etals Com pany from Shell Com pany X 's bank account. During the sam e tim e period, Co-

    Conspirator 1 instructed Co-conspirator 2 notto m ake any m ore paym ents because they w ere

    ow ed som ething.6 In a subsequentem ailexchange, Co-conspirator1 inform ed him thatthey had

    started getling paid so Co-conspirator2 could m oveforward on thepaym ent.O n oraboutA ugust

    20,2016,Co-conspirator2 em ailed Co-conspirator l informing him thata1lpaylnents had been

    completed to PhilippineM etalsCom pany.

           53.    M y review ofthe contractbetween Philippine M etalsCompany and ShellCom pany

    X described above and related em ailcom m unications revealed several irregularities. First,the

    2016 contractcontained an annex w hich detailed the purported sale ofiron ore,yetthe delivery

    datesforthe iron ore perthe contractreferenced the years 2008 and 2009. Second,according to

    exportrecords received from the Philippines,Philippine M etals Com pany never exported any




    6 N otably,around thistim e,Com pany 4 wasaw aiting paym ents by COM ELEC on Contracts 1,
    2,and 3. A s indicated above,pursuantto the contracts,BA UTISTA,orhis designee,had to first
    sign a m ilestone certification to triggerthe issuance ofapaym entby COM ELEC.

                                                  17
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 20 of 31




    goodsto ShellCompany X in 2016. Third,atno tim e did Co-conspirators 1,2 and 3 use their

    company eluployee em ailaccountsto facilitate these transactions. Lastly,in my review ofbank

    records forPhilippine M etals Company,alm ostim m ediately afterthe fundsw ere sentfrom Shell

    Com pany X to Philippine M etals Com pany,w ire transfers in the sam e'or sim ilar am ounts were

    sent from Philippine M etals Com pany to Philippine M SB Company. In m y training and

    experience,Ibelieve this is a com m on m oney laundering m ethod l
                                                                     tnown as layering thatis used

    to disguise the origin,destination,and true purpose of the funds transfer. A s explained in the

    follow ing paragraphs, the Co-conspirators later used Philippines M etals Com pany and Shell

    Com paniesX and Y to funnelpaym entsto BA UTISTA.

    BribePaymentsto BA UTISTA

                  A s described in m ore detail below , Com pany 2, Com pany 3, and Company 4

    em ployees- including Co-conspirators 1,2,and 3 - directed or caused VendorA -presidentto

    send bribe paym ents from the third group of slush funds held in ShellCom pany X and Shell

    Company Y bank accounts,which VendorA -presidentcontrolled,to BAU TISTA 'Sbank account

    in thenam e ofBaum ann ata bank in Singapore. Co-conspirators 1,2,3,and V endorA -president

    disguised thesepayl
                      uentstotaling $1m illion to BAUTISTA as Gctitiousloans to Baumann,a
    company located outside of the Philippines,w hile BA UTISTA w as Chairm an of COM ELEC.

    Again,Com pany 2 em ployees and V endor-A created this slush fund related to the Philippines

    2016 electionsthrough over-invoicing.

           55.    ln an em aildated A ugust 12,2016,Co-conspirator2 wrote VendorA -president

    thatthey (twillm ove 1 M M asa (loan'to a Virgin lsland Com pany.'' On A ugust15,2016,w ith

    thesubjectline(:Re:4thltem - LOAN,''VendorA-presidentsuggestedtoCo-conspirator2to
    use thethird fund from ShellCompany X and ShellCom pany Y to pay thedtloan.'' Based on m y


                                                  18
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 21 of 31




rt
 f
 t
 r
 h
 u
 a
 n
 i
 o
 d
 r
 g
 e
 h
 f
 ,
 B
 r
 x
 e
 an
  p
  u
  c
  m
  r
  i
  d
  a
  e
  n
  c
  ,
  P
  ar
   s
   n
   h
   d
   g
   e
   o
   l
   a
   v
   p
   c
   e
   h
   r
   a
   m
   4
   l
   9
   p,
    f
    a
    i
    n
    m
    y
    p
    l
    i
    a
    n
    '
    c
    t
    r
    ,
    o
    w
    y
    pe
     r
     i
     a
     t
     h
     d
     e
     s
     g
     i
     u
     n
     s
     te
      h
      v
      d
      s
      a
      B
      t
      i
      r
      g
      ç
      G
      a
      l
      o
      t
      s
      i
      h
      nV
       ,
       '
       p
       i
       r
       t
       a
       o
       g
       y
       m
       p
       n
       a
       e
       I
       y
       s
       l
       t
       br
        n
        f
        i
        d
        o
        e
        s
        .
        m
        t
        T
        h
        B
        e
        A
        tf
         U
         o
         i
         r
         l
         T
         d
         I
         s
         w
         S
         u
         T
         i
         n
         A
         h
         g
    w ere examplesofsom eofthose w iretransfersto BA UTISTA :

           A.


           56.
                  August16,2016 Attelppted Transferof$500,000 fortheBenefitof
                  BAU TISTA

                  On oraboutAugustl6,2016,Co-conspirator2 directed VendorA -president,via

    electronicmessaging,totransfer$500,000from ShellCompany Y'sbankaccountinHongKong
    to Baum ann'sbank accountin Singapore.According tobank records,BA U TISTA w asidentified

    through Baum ann's A rticles of Incorporation as a beneficial ow ner of the com pany and as a

    signatory on B aum ann'sbank accountin Singapore. Thew iretransferinstructionslisted GED .L.''

    at a Singapore bank as the point of contactforthe transfer and listed the purpose ofthe w ire

    transferasCSLOAN AGREEM ENT 2016.'' The w ire instructionsalso listed a bank in N ew York

    as the interm edial
                      'y forthe w ire transfer. The purported loan contractbetween Baum ann and

    ShellCompany Y tojustifythewiretransfer,includedasignaturethatappearstobethatofa
    know n close relative ofBAU TISTA,who signed the contracton behalfofBaum ann. Based on,

    am ong otherthings,electronic m essagesthat1have review ed between the Conspirators,there is

    good cause to believe thisloan contractw asnotlegitim ate and wasintended to disguise the true

    nature ofthe above-referenced transfer,which w as a bribepaym entto BAU TISTA . VendorA -

    Presidentsentthe $500,000 wiretransfer,and itpassed through an intermediary bank in New
    Y ork. How ever,this w ire transfer never arrived atBaum ann's bank accountdue to an issue at

    theoriginatingbank.Asdiscussedbelow,theCo-conspiratorsre-sentthis$500,000toBaumann
    on A ugust29,2016.




                                                  19
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 22 of 31




           57.    Priol- to the A ugust 16th w ire transfer, on or about A ugust 10, 2016, Co-

    Conspirator l texted Co-conspirator 2,while Co-conspirator2 w as in the Southern D istrictof

    Florida,indicatingthathe(Co-conspirator1)draûedtheloancontractbecausetherewasalotof
    pressure to m ake the paym ent- which,based on the contextofthe conversation as wellas m y

    training, experience and involvem ent in the case, 1 believe to refer to pressure from

    BAU TISTA- EmCIthattheyhadto executethepurported loan contractto effectuatethepaym ent.?

    Co-conspirator2 responded thathe would send the w ire transfernextw eek,butthathe had not

    sent the w ire transfer yet as he w as a little scared about doing so because the w ire transfer

    involved Csthiscountry''and thecountry could bea Slpain.''Based on m y training and experience,

    Co-conspirator2 referenced the United Statesw hen he wrote ltthis country''because he resided

    in theU nited Statesatthe tim e. ln a subsequentem ailto Co-conspirators 1and 2,dated August

    11,2016,Co-conspirator3 attached a draftloan agreementfor$1,000,000 between Baum ann
    and ShellCom pany X . ln a textconversation dated A ugust 15,2016,Co-conspirator 1told Co-

    Conspirator 2 that Co-conspirator 3 sent Co-conspirator2 the w ire instructions and thatthey

    were getling paid sothey could im m ediately executethe Ccloan.'' ln a textm essage sentfrom Co-

    Conspirator 2 to Co-conspirator 1,on or aboutA ugust 15,2016,w hile Co-conspirator 2 w as

    located in the Southern D istrictofFlorida,Co-conspirator2 stated thatthe wire transferw as a

    lotofm oney to send,so he m ay have to break up the w ire transferinto (6500''foreach transfer.

    Based on m y training and experience and m y involvem ent in this investigation,this com m ent

    referred to the one-m illion-dollartransfer paym entthat Co-conspirator 1 wanted to send,and

    thatitwould have to besentintwo paymentsof$500,000 each in orderto avoid scrutiny from




    7Discussedinh'
                 a,BAUTISTA andacloserelativepurchasedaresidenceinSanFrancisco,
    California on August31,2016.
                                                  20
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 23 of 31




    thebankts)involved inthetransaction.Co-conspirator1then instructed Co-conspirator2 by
    text m essage,dated August 15,2016,to send the w ires urgently as the pressure to send the

    Paym entwas(thorrible.''

           58.     ln a textconversation thenextday,on oraboutA ugust 16,2016,Co-conspirator

    2 told Co-conspirator 1thatthe one-m illion-dollarloan paym enthad to be divided into tw o loan

    paym ents w ith C$500''being 'Klent''by Shell Company X and :6500''by ShellCom pany Y . In

    sum m ary,Co-conspirator2 explained thatthe w iretransactions had to be separated so thatthey

    fellin differentw eeksand explained thiswasbecauseitwasa lotofEfsalsa''to send to the (tnorth.''

    Based on m y training and experience, the context in which the term s w ere ùsed and m y

    ltnow ledge of the case,1 believe thatthe term (tnorth''refers to the United States and Sçsalsa,''

    refers to m oney,and thatthe Co-conspirators w ere discussing dividing the paym ent into two

    sm allerpaym entsto help avoid draw ing suspicion from authoritiesorbanksin theU nited States.

           59.     ln an em ailexchange from on or aboutAugust 16,2016,to on oraboutA ugust

    17,2016,betw een Co-conspirators 1,2,and 3,Co-conspirator2 inform ed Co-conspirators 1

    and 3 that (tin order to m inim ize the risk forthe Lenders,the loans w illcom e from 2 different

    companiesfor500,000US$each.'' Co-conspirator3asked,GKcantùfcjthey b0th bedoneon
    W ednesday?'' Co-conspirator2 responded,(tlujnfol4unately theamountistoo big totransfer
    the same day. Please see attached confirm ation forthe firstloan of 500K . PS:Please send m e

    theloanakreementssignedl''Co-conspirator3replied,(11though(,
                                                               5'
                                                                fc)wecouldhaveitsigned
    by a fictitious nam e,and in thatcase,som ebody therecould sign. Isn'tthatthe case anym ore?''

           B.     A ugust22,2016,A ttem pted Transferof$500,000 forthe Benelitof
                  BAU TISTA

           60.     On oraboutAugust22,20l6,the Co-conspirators senta second w iretransferof

    approximately$500,000forafictitiousloan,perdocumentsprovidedtothebanktojustifythe
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 24 of 31




    w ire transfer,from an accountin Hong Kong in the nam e of ShellCom pany X ,through a U .S.

    correspondentbank in N ew York,to BAU TISTA 'SBaum ann bank accountin Singapore.A gain,

    thew iretransferinstructionslisted G(D .L.''atthe bank asthepointofcontactforthe transferand

    thejustificationforthetransferwaslisted as(CBUSINESS LOANS.'' A signatureon theloan
    contracton behalfofBaumann submittedto abank in supportofthewiretransferagain appears

    to be thatof a know n close relative of BA UTISTA . A s w ith the other w ire transfer,itpassed

    through an interm ediary bank in N ew York,butthis w ire transfer never arrived atBaum ann's

    bank accountdue to the sam e issue atthe originating bank. A s discussed in Paragraph 63,the

    Co-conspiratorsresentthe$500,000toBaumannon August3l,2016.

           C.     August29,2016,Transferof$499,975 fortheBenefitofBAUTISTA

                  Assetforth above,theCo-conspiratorssenttwo $500,000paym entsfrom Shell
    Com paniesX and Y thatpassed through the United States financialsystem butnever arrived at

    BAU TISTA 'S Baum ann bank account in Singapore due to the issues referenced above.

    m essagesfrom approxim ately in oraround August2016 through in oraround Septem ber2016,

    between Co-conspirator 2 and VendorA -presidentcolw borate this inform ation. Forinstance,

    in these m essages,Co-conspirator2 and Vendor A-presidentdiscussed the problem s thatthey

    encounteredwiththewiretransfersandthatthebankts)involvedinthewiretransactionsreturned
    both paym ents. ln thetextm essagesdescribed above,VendorA-presidentconfirm ed thatabank

    returned thefundsand thathe would resend the fundsto Baum ann'sbank accountatthe bank in

    Singapore.

                  After the above-described text m essage exchange, based on bank account

    inform ation obtained by law enforcem ent,on oraboutAugust29,2016,V endorA -presidentsent

    toBAUTISTA'Sbank accountin Singapore,inthenameofBaumann,approximétely $499,975,


                                                  22
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 25 of 31




    from ShellCom pany X ,to the attention of ($D .L.''and for (I
                                                                B USINESS LOAN S.'' This wire

    transferpassed through a U .S.correspondentbank in N ew York. In thetextm essagesdescribed

    above, Co-conspirator 2 confirm ed that the beneficiary- whom ,based on the context of the

    conversation asw ellasm y training,experience,and involvem entin thecase,wasBAU TISTA

    received the w ire transfer. B ank records also veritied that this w ire transfer arrived in

    BA UTISTA 'Sbank accountheld in the nam e ofBaum ann in Singapore.

           D.     A ugust31,2016,Transferof$500,000 fortheB enefitofBAU TISTA

           63.    Based on bank docum ents obtained by 1aw enforcem ent,on oraboutA ugust3l,

    2016, Vendor A-president resent BA UTISTA 'S Baum ann bank account in Silkgapore

    approximately$500,000from ShellCompanyY totheatlentionof(çD.L.,''withthejustification
    of(CLOAN A GREEM EN T 2016.'' Again,thisw iretransferpassed through aU .S.correspondent

    bank in N ew York. In a textm essage,Co-conspirator2 confirm ed to VendorA-presidentthat

    the beneficiary- whom , based on the context of the conversation as well as my training,

    experience,and involvem entin the case,1believe to be BA u-fls-lW - received the w ire transfer.

    Bank records also verified thatthis w ire transfer arrived in BA UTISTA 'S bank accountheld in

    the nam e ofBaum ann in Singapore.

    BribePaymentsRedirected toBAUTISTA by Phill
                                              ppine Companies
           64.    Based on m y review ofem ails,som e written in Spanish,and bank recordsreceived

    from BAU TISTA 'Sbank in Singapore,1learned thatBA UTISTA 'Sbank accountheld inthenam e

    ofBaumann ultimately receivedapproximately $1,000,000(two wiretransfersofapproximately
    $500,000each)from Co-conspirators1,2,3,andVendorPresident-A through ShellCompanies
    X and Y . H owever,afterthe fundsarrived in the account,com pliance officials atBAUTISTA 'S

    bank requested supporting docum entation forthe w ire transfersfrom ShellCom paniesX and Y.


                                                  23
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 26 of 31




    U ltim ately,the account holder, BAU TISTA , failed to convince bank officials that the w ire

    transfers w ere legitim ate through supporting docum entation and the bank returned both w ire

    transactionsto V endorA -president'sbank accountsforShellCompanies2 and 3,in October2016.

    For reasons discussed in the following paragraphs and based on m y experience in foreign

    corruptionandm oney launderingmatters,1havelearnedthattheCo-conspiratorsresentthefunds

    using Philippine companiesto BA UTISTA .

           65.     Afterbanking officialsatBAUTISTA'Sbank directedthereturn ofthe$1,000,000
    to ShellCom panies X and Y in October2016,Co-conspirator2 directed Vendor A-presidentto

    w irethesefunds in anotherw ay to m ask the origin and destination ofthefunds.From in oraround

    D ecem ber2016 through in oraround February 2017,the Co-conspiratorsredirected these funds,

    including approximately $900,000, through Philippine M etals Company to Philippine M SB
    Com pany'sbank account.B On oraboutD ecem ber6, 2016,Co-conspirator2 em ailed V endorA-

    Presidentthe follow ing:

           Rem emberthe 2 500'sT/T returned?
           W eneedtopaythat1M M to(PhilippineM etalsCompany).
           You did som e transfersbefore to them ,so you should have allthe inform ation;the
           contractis stillvalid so Ithink itshould notbe a problem to pay them .
           Please 1etm e know w hatdo you need in orderto startsending the paym ents...

           1suggestto send asfollows:



    8 In another em ail sent in early M arch 2017, V endor A -president,'at the direction of Co-
    Conspirators 2 and 3,wired the remaining $100,000 as a Eldonation''to an organization in the
    Philippines.Basedontrainingandexjerience,thetotalityoftheevidenceshowsthatthiswasnot
    atçdonation7';ratheritwasanotherbrlbetoBAUTISTA giventhatintheemailconversation,Co-
    Conspirator2 andVendorA-presidentdiscussedresendlngtherejected$1,000,000intendedfor
    BAU TISTA 'SBaum ann,toPhilippineM etalsCompany and a Gtdonation''to an organization.They
    discussed wiring $900,000 to Philippine M etals Company and $100,000 asa EEdonation.'' The
    paymentsto PhilippineM etalsCompany and the Gtdonation''totaled approxim ately $1,000,000.
    A dditionally,Co-conspirator2 sentV endorA -presidenta letterfrom the Philippine organization
    thankingShellCompanyY forthe$100,000donationaweek beforeVendorA-presidenthad even
    w ired the funds.
                                                 24
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 27 of 31




           W ED 07DEC 297,500$
           Fltl09DEC 262,700$
           TUE 12DEC 268,800$
           THU l4DEC 171,000$
           Please letm e know ...

                  Based on my training and experience and m y involvem entin this investigation,1

    believetheabovecom m unication wasareferenceto theCo-conspiratorsresending the onem illion

    dollars that was intended for BAUTISTA , through a different company. A fter sending the

    schedule in the preceding paragraph,Vendor A -presidentsent Co-conspirator2 a revised w ire

    transferschedule in an em ail,to which Co-conspirator 2 replied,(tdo the firstA SAP in orderto

    calm down therecipientpeople...'' VendorA-presidentsaid hew ould transferassoon ashe could,

    but asked if the Philippines M etals Company could provide an invoice to Shell Company X .

    A dditionally,the tim ing of the contract and the irregularities setforth above in paragraph 53,

    am ong other things,confirm thatthe entire contract betw een Shell Company X and Philippine

    M etals Com pany- to include the m odifications- wasnota realcontract. Further,in apriortext

    conversation sent,in part,on or about August 15,2016,from the Southern D istrict of Florida,

    between Co-conspirators 1 and 2,they referenced çdm etals''and (lloan''in the sam e exchange.

    Based on m y training and experience and my involvem ent in this investigation,1know thatthe

    word Içm etals''w aspartofthe nam e ofPhilippine M etals Com pany and ltloan''was a reference to

    thejustificationdocumentationforthewiretransferstoBAUTISTA'SbankinSingapore.gLastly,
    in an em ailaccount lawfully searched during this investigation,1aw enforcem ent discovered a

    ledgerofpaym ents containing the firstnam e of Co-conspirator 3,who w as the sam e individual



    9 H S1also located a second Excelspreadsheetin Vendor-Em ployee'sem ailfrom D ecem ber2016
    thatdetailed the lEEl
                        xtl'a Fee''forpurchase order#5134 and subsequentpaym entsfrom the Itl
                                                                                            Elxtra
    Fee''to Baum ann,PhilippineM etalCom pany,and to the organization referenced in Footnote 7.

                                                  25
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 28 of 31




    w ho signed and executed Contracts 1,2,and 3 with COM ELEC on behalf ofCompany 4. This

    ledgercontained m ostoftheredirected paym entsthatlhave determ ined werepaid to BAU TISTA .

    On or aboutWz/p /s,
                      /2J,2016,Baumann had wired $960,000 to the United States to Purchase a
    Residence

                  ln review ing em ails and bank records obtained during the investigation,as noted

    above,1have learned thattheCo-conspiratorsattempted to send $500,000 on August16,2016,
    from ShellCom pany Y to BA UTISTA 'SBaum ann bank account in Singapore. BA UTISTA,on

    oraboutAugust 18,2016,em ailed ççD .L.''to inform her aboutthe incom ing w ire to hisaccount.

    D .L.w asBA UTISTA 'Srelationship m anageratthe Singapore bank and wasidentified asa point

    of contact on the w ire transfer instructions referenced above. BA UTISTA attached the sam e

    documentsaboutthewiretransferthatincludedthenameofD.L.andthatthejustificationforthe
    transferw as (ILOAN A GREEM EN T 2016,,'the sam e description on w ire instructions found on

    Co-conspirator2's laptop.

           67.    Based on the docum ents and com m unications review ed by law enforcem ent,

    BAU TISTA knew atleastas early as August8,2016,thathe w ould receive fundsfrom the Co-

    Conspirators. On or aboutAugust8,2016,BA UTISTA em ailed ';l.S.,''w ho w ashis assistant,a

    M icrosoû W örd docum entthathad the file nam e (ELOAN AGREEM EN T PERSONA L.'' The

    emailhad beenforwardedtoBAUTISTA andthesubjectlineread<Tw:Draftcontract''which
    indicatesthatsom eonehadfonvardedBAU TISTA thisem ail.H ow ever,in the em ailhe forw arded

    to I.S., BA UTISTA deleted the original sender from the em ail to I.S. The M icrosoft W ord

    docum ent in the em ail w as a draft loan contract between Baum ann and Shell Com pany X .

    According to the m etadata for this W ord docum ent, Co-conspirator 1 created this draft loan

    contracton oraboutA ugust3,2016.Law enforcem entfound thissam e draftloan contracton Co-

    Conspirator2'slaptop.

                                                 26
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 29 of 31




           68.    On oraboutAugust23,2016,the day afterthe Co-conspirators attempted to w ire

    thesecond $500,000 amount(which laterdid notgo through),$960,000 waswired outofthe
    Baumannaccount(BAUTISTA'Saccount)toabankaccountinNew York heldinthenameofa
    BAUTISTA family member(Family Member l).10 According to bank records,thepayment
    details for this w ire transferdescribed itas a ççG if7
                                                          t.'' On or aboutA ugust 29,2016,this exact

    amount--$960,000--waswired outby Fam ily M ember lofthisNew York-based bank account
                                                                                        t
    to an escrow accountfora partialpaym entfora residence in San Francisco,Californla thatcost

    $1,279,200.FamilyM ember1purchasedtheresidenceonAugust31,2016,andwaslisted asthe
    only purchaseroftheresidence.

           69.    Em ailcom m unicationsfrom July 2016 between BAU TISTA and fam ily m em bers

    stressed the im portance ofw iring thefundsfrom thebank accountin Singapore directly to Fam ily

    M em ber 1,notto the com pany in charge ofthe closing forthe residence,and to labelthe w ire as

    a (tgift.'' ln another em ail,Fam ily M em ber 1 thanked BAUTISTA forthe Ccm ostgenerous gift

    you've given m e thisyearform y birthday - the opportunity to partnerw ith you on thisvely large

    investm ent.''ln a laterem ailthatcopied BA UTISTA ,a fam ily m em berrecom m ended a realestate

    agentto use ifthey ever decided to sellthe residence. Based on m y training and experience and

    involvem entin thisinvestigation,1believethatthe $960,000wiretransferfortheresidencewas

    notagifqbutajointrealestateinvestmentbetweenBAUTISTA andFamilyMember1.


    10 Accordingto bank recordsforBaumann,theaccounthad anegativebalanceafterthe$960,000
    was sentto Family M em ber 1. The evidence suggeststhatthis occurred because based on the
    conversations described above,BAUTISTA thoughtthatthe firsttwo $500,000 wires senton
    A ugust l6,2016,and August22,2016,w ould be credited to his account. l know this because
    BA UTISTA forwarded the draftloan agreem entto I.S.,hisassistant,on oraboutAugust8,2016,
    and the firstw ire confirm ation to D.L.,his relationship m anager atthe bank on or aboutA ugust
    18, 2016. After the Co-conspirators and Vendor A -president resent the two transfers for
    approximately $500,000eachinlateAugust2016,theBaumann bank accountflippedtoapositive
    balance.
                                                  27
Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 30 of 31
                                                                                                      J.
                                                                                                      '




                                            CONCLUSION

             70.    Based on the foregoing,yourM fiantsubmitsthcre isprobable cause to issue a

      criminalcomplaintand arrestwarrant charging Juan Andrcs 'fAndy''Donato Baufista with
      conspiring to laundcrmonetary instrum entsand conspiring to engagein m onetary traùsactionsin

      property derlvcd from specified unlawlklactivity,irtviolation ôf 18 U.S.C.jj 1956(a)(2)(A),
      1956(a)(2)@ )(i),and l957(a);a1lin violation of 18 U.S.C.j 1956(1$9and laundering and
      attemptedIaunderingofmonetary instruments,inviolaiionof18U.S.C.9j 19!d(a)(1)(A)and
      1956(a)(2)@)(i).
      FIJRTHER YOUR AFFIANT SAYETH NAU GHT.



                                                Respectfully sub itte

                                                C             El .        .
                                                  ecialAgent
                                                Hom eland    ' lnvestigations



      Attested to by theapplicantin accordance5vit11therequirem entsofred.R.crim .p.4.1
      by FaceTim ethis 19 day ofSeptem ber2023.




      H ON ORABLE LAUREN F.LOUIS
      UNITED STATESM AGISTM TEJUDGE




                                                    28
'
      Case 1:24-cr-20343-KMW Document 1 Entered on FLSD Docket 09/20/2023 Page 31 of 31
                                                    SURIM ARY OF BQTRERY SCHEWIE FLOW CH AQT



                                                                                                                       <x
                                                                                                                       '
                                                                                                                       7>a
                                                                                                                         .
                                                                                                                         j
                                                                                                  COM ELEC AWWRDS
                                                                                                 ContluctstoCOM PANY 4
                                                                                                      (08/27/15-0N09/16)
                                                                                             Cœ tract02/09/16(Senices)
                                                                                            Contmct0827/15(23,000units)
                                                                                            Contracl09/04/:5(70,977units)
           Coœ onspiratorl(Prcsidcnt-Compny2)                                                         approx.$199.000,000                                                                               p
                                                                                                                                                                                                        %'
                                                                                                                                                                                                         zr
    Co- Co-censpizator.2(Vicc-prcsident-Company3)                                                                                                                                                        -ANY
                                                                                                                                                                                                     COM P- 2
       conspirator3A qectManagcrPhilippi
                                       nes-Company4)
                     Co-conspirator4


                                                                                                                                                                            Q=a
                                                                                                                                                                              =c
                                                                                                                                                                               =5
                                                                                                                                                                                ..
                                                                 DirectedForeir Comp'myA
                                                           low'irerundsloBaumannEnkrpriscL!d                                                       S56 l1479acontracyonljo /js
                                                                & PhilippineMetalsConlpany                                                            , .
                                                                        (May.16-May'17)


                                                                                                              VENDOR A
                                                                                                      (VendorA-Presi
                                                                                                                   denl
                                                                                                                      )


                                                                          7
                                                                          k.Q'-o. .=1                                                                      k
                                                                                                                                                           - ;o ..




                                                           yx
                                                            '
                                                            >                                                                                                                             rr
                                                      SHELL COMPANY X                                                                                                   ZMYHELL COM PANY Y
                                                                 .           %*                                                                                         :             %
                                                               .,             .                                                                                       yz
                                                             ..                *1                                                                                    al                   )j
                                                                                                                                                                                       .
                                                            i;*                %.%                                                                               #
                                                                                                                                                                  '                   @
                                                                                                                                                                                      :
                                                                                                                                                                                      .
                                                              l$                    %9                                                                          ee
                                                               %
                                                               .
                                                                N
                                                                                     .%
                                                                                       t                                                                    .z
                                                                                                                                                           p'
                                                                                                                                                                                    zp
                                                                                                                                                                                   ,,
                                                                 N&                    N*                                                               ê,                       gy
                                                                  Aq                     :*                                                            z                        #
                                                                    :                      %                                                          e.                       e.
                                Redircctcdxtorpaymcnts               %                      Y                                                        ..'                      X
                               (Dcctmbcr'16-February#I7)              %$s                    'kvv                                               /
                                                                                                                                                ,                            ..*
                                       5900.000                          %q               s                                            .,
                                                                                                                                       '              .y,
                                                                          x%
                                                                            ..       08/22/.
                                                                                           16S50pK                            cg/jgj6ssx jt
                                                                                                                              0131/1 6S5 00K       ,.
                                                                                                                                                    '
                                                                                                                                                     ,.
                                                                                                                                                     '
                                                                             wu
                                                                               Kx
                                                                                     0*59/16S5
                                                                                             k
                                                                                               0()K                                 .              :
                                                                        S500K ' wirerelurn .NN                                    .
                                                                                                                                  '; gsjxjug wja ajuaj
                                                                                                                                   '
                                                                                                                                 ..      S60O .M.jret4tka.
                                                                                                                                                ,         n
                                                                        S500K wirF remrn                      X*                   .'
                                                                                                                                   e                            z
                                                                                                                                                                #
                                                                                 q    N                           N*           .*  I                        /e
                                                                                       &                           *x
                                                                                        N                           xs x:z                                  a
                                                                                                                                                           g.
                     I
                     '
                     'i
                      .V*
                        y.                                                                X*v                           K /
                                                                                                                      **w ee                           /
                                                                                                                                                       e
                                                                                            xq                           .ê                           .z
         PHH.TPPINE M ETALSCOMPANY                                                              %Np                      .&
                                                                                                                       *. N*                    #e
                                                                                                                                                     ..'
                                                                                                 :%                   g
                                                                                                                      p     1.                  .?
                                                                                                   kx.              ey        N1               w
                                                                                                     wx
                                                                                                       .           #w          *
                                                                                                                               s              /e
                                                                                                       -%                       A           :
                                                                                                           wq.
                                                                                                                        op     a.
                                                                                                                         .x% **.         ,#
                                                                                                                                        ,e
                                                                                                             Ns            :4.         pê
                                                                                                                              <
                                                                                               BAUMANN ENTERPRISES LTD
                                                                                                           (JuaaAndmsBautista)
                    $9*0.000
             t1%c-> ll6-Febnzazy617)                                                                                                                                          08/J.3/,65960,000


                                                                                                                                                                                                 FAM ILY M EM BER 1
                                                                                                                                                                                                      U.5.Banlr




           PHTT.DPINEMSB COMPANY                                                                                                                                                                  0829/16512797%




                                                                                                                                                                                                        : jj
                                                                                                                                                                                           SanFranclco.Califom iaResidence
                                                                                                                                                                                                Ruvhased on 08/31/16
